

People v Bethany (2019 NY Slip Op 09234)





People v Bethany


2019 NY Slip Op 09234


Decided on December 20, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 20, 2019

PRESENT: SMITH, J.P., CENTRA, PERADOTTO, LINDLEY, AND CURRAN, JJ. (Filed Dec. 20, 2019.) 


MOTION NO. (1025/16) KA 14-01504.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vRAYSHAWN BETHANY, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








